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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )       Chapter 11
                                                     )
           YUETING JIA,                              )       Case No. 19-12220-KBO
                                                     )
                                 Debtor.             )       Re: Doc Nos. 89, 111
                                                     )

    JOINDER OF TIBET JINMEIHUA INVESTMENT CO. LTD. TO OFFICIAL
COMMITTEE OF UNSECURED CREDITORS’ RESPONSE TO SHANGHAI LAN CAI
  ASSET MANAGEMENT CO, LTD.’S MOTION (I) TO DISMISS THE DEBTOR’S
 CHAPTER 11 CASE OR, ALTERNATIVELY, (II) TO TRANSFER VENUE TO THE
                  CENTRAL DISTRICT OF CALIFORNIA

          Tibet Jinmeihua Investment Co. Ltd. (“JMH”), creditor and party in interest in the

above-captioned case, by and through its undersigned counsel, hereby joins in the Response of the

Official Committee of Unsecured Creditors (the “Committee”) to Shanghai Lan Cai Asset

Management Co, Ltd.’s (“Lan Cai”) Motion (i) to Dismiss the Debtor’s Chapter 11 Case or,

Alternatively, (ii) to Transfer Venue to the Central District of California (the “Opposition”) filed

by the Committee on December 5, 2019 [Doc. No. 111].

          JMH agrees with and supports the Opposition, and incorporates the arguments set forth in

it as though fully set forth herein. Accordingly, for the reasons set forth in the Opposition, JMH

requests that Lan Cai’s Motion to Dismiss be denied and for such other and further relief as the

Court deems proper.




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Wilmington, Delaware          /s/ Sally E. Veghte
Dated: December 5, 2019       Domenic E. Pacitti (DE Bar No. 3989)
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                              Co-Counsel to Tibet Jinmeihua Investment Co. Ltd.




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                                 CERTIFICATE OF SERVICE


        I, Sally E. Veghte, hereby certify that on this 5th Day of December 2019, the foregoing

Joinder of Tibet Jinmeihua Investment Co. Ltd. to the Official Committee of Unsecured Creditors’

Response to Shanghai Lan Cai Asset Management Co, Ltd.’s Motion (i) to Dismiss the Debtor’s

Chapter 11 Case or, Alternatively, (ii) to Transfer Venue to the Central District of California was

filed and served via the Court’s electronic case filing and noticing system and first class mail on

counsel listed on the Service List:



                                                       /s/ Sally E. Veghte
                                                       Sally E. Veghte (DE Bar No. 4762)




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